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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Eric Wayne Poemoceah                        )
                                            )
              Plaintiff,                    )   ORDER OF RECUSAL
                                            )
       vs.                                  )
                                            )
Morton County, North Dakota; et al.,        )   Case No.: 1:20-cv-053
                                            )
              Defendants.                   )


       Pursuant to 28 U.S.C. § 455(a), the undersigned recuses himself from hearing or

determining any proceeding in this case.

       IT IS SO ORDERED.

       Dated this 9th day of April, 2020.

                                                /s/ Clare R. Hochhalter
                                                Clare R. Hochhalter, Magistrate Judge
                                                United States District Court
